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15                                        UNITED STATES DISTRICT COURT
                                         NORTHERN DISTRICT OF CALIFORNIA
16                                           SAN FRANCISCO DIVISION
17

18   DONALD J. TRUMP, et al.,                             Case No. 21-cv-08378-JD

19                             Plaintiffs,                DEFENDANTS’ REPLY TO PLAINTIFF
                                                          TRUMP’S EXTRA BRIEF REGARDING
20           v.                                           THE CONSTITUTIONALITY OF
                                                          SECTION 230
21   TWITTER, INC., et al.,
22
                               Defendants.
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      DEFENDANTS’ REPLY TO PLAINTIFF                                                Case No. 21-cv-08378-JD
      TRUMP’S EXTRA BRIEF REGARDING THE
      CONSTITUTIONALITY OF SECTION 230
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 1           Plaintiff Donald Trump’s latest brief again confirms both that he and his co-plaintiffs lack standing

 2   to challenge the constitutionality of Section 230 and that their constitutional challenge is meritless. Mr.

 3   Trump also argues, for the first time, that the Court can avoid the purported constitutional issue by

 4   construing Section 230 not to apply to the editorial decisions at issue in this case. Because Plaintiffs’

 5   constitutional challenge is not properly before the Court, this argument is an improper request for an

 6   advisory opinion. And there is no need to apply the canon of constitutional avoidance because Plaintiffs

 7   do not come close to raising doubt about the constitutionality of Section 230. Regardless, Mr. Trump’s

 8   proposed constructions of Section 230 are wrong and the Court should, if it considers them, reject them.

 9     I.    Plaintiffs Lack Standing To Challenge The Constitutionality Of Section 230

10           Plaintiffs do not have standing to raise a constitutional challenge to Section 230 in this case because

11   Defendants have not raised it as a defense and because Section 230 has not caused them any injury. See

12   Mot. to Dismiss (“MTD”) 12-13; Opp. to Prelim. Inj. Mot. (“PI Opp.”) 26; MTD Reply 6-7. Mr. Trump

13   now appears to concede that the Court “need not” decide the constitutionality of Section 230 in “the case

14   at bar” but argues the Court should reach that question “if the statute is later asserted by

15   Defendants.” Resp. 4. His concession that this case can be decided without considering the

16   constitutionality of Section 230, on its own, requires dismissing Plaintiffs’ claim seeking a declaration that

17   Section 230 is unconstitutional. Moreover, Plaintiffs would lack standing to seek a declaratory judgment

18   regarding the constitutionality of Section 230 even if Twitter had asserted, or were to assert, Section 230

19   as a defense. That statute has not caused them any injury. Twitter, not Section 230, removed Plaintiffs’

20   content from its platform, and a judicial declaration that Section 230 is invalid would not remedy that

21   alleged injury. See Lewis v. Google LLC, 851 F. App’x 723, 723-24 (9th Cir. 2021).

22    II.    Section 230 Does Not Violate The First Amendment

23           Even if Plaintiffs’ declaratory-judgment claim regarding Section 230 were properly before the

24   Court, it still should be dismissed because Section 230 does not violate the First Amendment. Mr. Trump

25   argues (Resp. 5), as he has before, that Section 230 violates the First Amendment because it “permits”

26   Twitter to exercise editorial control over its platform. See Prelim. Inj. Mot. (“PI Mot.”) 18-19; Opp. to

27   Mot. to Dismiss (“MTD Opp.”) 18-19; PI Reply 5-6. But Section 230’s neutral grant of immunity—

28   protecting platforms whether they host or block content—does not violate the First Amendment. See

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 1   MTD 13; PI Opp. 19-21, 26; MTD Reply 7. Mr. Trump’s latest brief just restates his prior argument on

 2   this point, except for offering one new—and likewise meritless—contention: that in Denver Area Educ.

 3   Telecomms. Consortium, Inc. v. FCC, 518 U.S. 727 (1996), the Supreme Court “held statutes that permit but

 4   do not require a private party to regulate speech could lead to a First Amendment violation.” Resp. 5.

 5           Denver Area does not support Mr. Trump’s position. Section 230 is vastly different from the

 6   provision found to violate the First Amendment in that case. That provision regulated the broadcasting

 7   of “patently offensive” sex-related material on public access cable channels by authorizing operators of

 8   those channels to ban programming that the operator reasonably believed described or depicted offensive

 9   sex-related material. Denver Area, 518 U.S. at 732, 735. That provision, unlike Section 230, singled out a

10   particular, content-based category of speech for “censorship” by private actors. And, unlike Section 230,

11   it applied only to private actors who were “unusually involved” with the government. Denver Area, 518

12   U.S. at 739. Those are dispositive differences, as the (splintered) opinions in Denver Area makes clear.

13   Two of the five Justices who voted to overturn the provision opined that it violated the First Amendment

14   because it “single[d] out one sort of speech for vulnerability to private censorship in a context”—believed

15   by those Justices to be a “public forum”—“where content-based discrimination is not otherwise

16   permitted.” Id. at 782-783, 791-794 (Kennedy, J., concurring in part, concurring in the judgment in part,

17   and dissenting in part). The other three Justices in the majority explained that there were special features

18   of public access cable channels that made government-empowered, content-based censorship of them by

19   private cable operators constitutionally infirm, including that: (1) the operators had not “historically

20   exercised editorial control” over public access channels and (2) those channels were subject “to complex

21   supervisory systems of various sorts, often with both public and private elements.” Id. at 760-761 (Breyer,

22   J.). Thus, a majority of the Court agreed that a statute that permits (but does not require) a private party

23   to “censor[]” another person’s speech does not transform that private party’s “censor[ing]” decisions into

24   state action—and thereby supply the state action needed for any constitutional challenge to the statute—

25   unless the statute both (1) “singles out one sort of speech for vulnerability to private censorship” and (2)

26   does so “in a context where content-based discrimination is not otherwise permitted.” Id. at 782

27   (Kennedy, J.); see also United States v. Davis, 825 F.3d 1014, 1021-1022 (9th Cir. 2016) (“A fractured Supreme

28   Court decision should only bind the federal courts … when a majority of the Justices agree upon a single


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 1   underlying rationale and one opinion can reasonably be described as a logical subset of the other.”); Roberts

 2   v. AT&T Mobility LLC, 877 F.3d 833, 841 (9th Cir. 2017) (applying this rule to Denver Area).1

 3            Those critical features are absent here. See Divino Grp. LLC v. Google LLC, 2021 WL 51715, at *7

 4   (N.D. Cal. Jan. 6, 2021) (distinguishing Denver Area on those grounds and rejecting a First Amendment

 5   challenge to YouTube’s editorial decisions). First, unlike the provision in Denver Area, which sought to

 6   regulate a very specific category of “patently offensive” sex-related material, Section 230 concerns who

 7   can be treated as a publisher of online speech, not what is being said. Second, the context in which Section

 8   230 protects Twitter’s content-moderation decisions is the polar opposite of one “where content-based

 9   discrimination is not otherwise permitted.” Unlike cable operators who historically had no editorial

10   control over public access channels and were subject to complex supervisory systems, Congress

11   determined online platforms should be “unfettered by Federal or State regulation.” 47 U.S.C. §§ 230(a)(4),

12   (b)(2). See also infra 4-5. Nor do online platforms like Twitter become public forums, or otherwise suffer

13   any constraints on their editorial discretion, by hosting and making widely available massive quantities of

14   content from millions of third parties. See Prager Univ. v. Google LLC, 951 F.3d 991, 997 (9th Cir.

15   2020). Indeed, every Twitter user (including every Plaintiff) agreed to Terms of Service that explicitly gave

16   Twitter discretion over what content may and may not appear on its platform. And, on top of all that,

17   whereas Denver Area deemed the First Amendment interests of operators of public access channels to be

18   “nonexistent, or at least much diminished,” 518 U.S. at 761 (Breyer, J.) (citing id. at 791-794 (Kennedy,

19   J.)), Twitter’s decisions to exercise “editorial control and judgment” over what content is and is not

20   published through its communications platform is core expressive conduct protected by the First

21   Amendment. Miami Herald Publ’g Co. v. Tornillo, 418 U.S. 241, 257-258 (1974); see also O’Handley v. Padilla,

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     1
       A much more recent Supreme Court decision casts doubt on a key premise—namely, that privately
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     operated public access cable channels are public forums—necessary to form the operative majority in
24   Denver Area. In Manhattan Cmty. Access Corp. v. Halleck, the Court held that private operators of public
     access cable channels do not qualify as state actors and that those channels are not public forums. 139 S.
25   Ct. 1921, 1928 (2019). The Court’s opinion in Halleck favorably cited Justice Thomas’s dissenting opinion
     in Denver Area, in which he offered two reasons for upholding the provision at issue: first, because privately
26   operated public access channels are not public forums, and second, because private actors who own and
     operate cable systems enjoy the same First Amendment rights to control the content distributed through
27   those systems as newspaper editors have over what content appears in their newspapers. See, e.g., Halleck,
     139 S. Ct. at 1933 (citing Denver Area, 518 U.S. at 829 (Thomas, J., concurring in judgment in part and
28   dissenting in part); see also Denver Area, 518 U.S. at 831 (Thomas, J.) (“Public access channels are not public
     forums, and, therefore, petitioners’ attempt to redistribute cable speech rights in their favor must fail.”).
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 1   2022 WL 93625, at *14 (N.D. Cal. Jan. 10, 2022) (Twitter’s “decisions about what content to include,

 2   exclude, moderate, filter, label, restrict, or promote … are protected by the First Amendment.”).

 3           In sum, Denver Area in no way aids Plaintiffs’ arguments concerning the constitutionality of Section

 4   230. The state action doctrine “require[s] private actors to be state actors as a prerequisite to challenging

 5   permissive statutes.” Roberts, 877 F.3d at 841-842. Because Section 230 does not transform the editorial

 6   decisions of online platforms into state action, see MTD 9-10; PI Opp. 19-21; MTD Reply 4-5, it does not

 7   violate Plaintiffs’ First Amendment rights.

 8   III.    Mr. Trump’s Constitutional Avoidance Arguments Are Baseless

 9           Because Plaintiffs’ constitutional challenge to Section 230 is procedurally barred, Mr. Trump’s

10   constitutional avoidance arguments in effect improperly invite the Court to issue an advisory opinion

11   about the statute’s scope. See Carney v. Adams, 141 S. Ct. 493, 498 (2020) (the standing requirement

12   “prevent[s] courts from issuing advisory opinions”). The Court should decline that invitation. And that

13   issue aside, the canon of constitutional avoidance would not apply because, as Twitter has explained, Mr.

14   Trump has not raised “a serious doubt” about the constitutionality of Section 230. Jennings v. Rodriguez,

15   138 S. Ct. 830, 842 (2018); see supra 1-3; MTD 13; PI Opp. 19-21, 26; MTD Reply 7.

16           In any event, Section 230 is not susceptible to the interpretations proposed by Mr. Trump. First,

17   it is frivolous for Mr. Trump to suggest (Resp. 2) that phrases he plucks from Section 230’s preamble—

18   such as that the Internet and online platforms have “benefit[ted] all Americans,” 47 U.S.C. § 230(a)(4)—

19   mean that Section 230 should be construed (contrary to the statute’s plain language and decades of

20   precedent) as offering such platforms no protection for barring account holders, like Mr. Trump, who

21   repeatedly violate their rules. To promote the interests of all Americans, Congress did not mandate that

22   Internet platforms host the content of all Americans. It did exactly the opposite, concluding that the

23   “flourish[ing]” of “[t]he Internet and other interactive computer services” “to the benefit of all

24   Americans” is best served by leaving the Internet “unfettered by Federal or State regulation.” 47 U.S.C.

25   §§ 230(a)(4), (b)(2) (emphasis added). To that end, Congress provided Internet platforms with immunity

26   from liability for their decisions “to publish or to withdraw from publication third-party content.” Barnes v.

27   Yahoo!, Inc., 570 F.3d 1096, 1102 (9th Cir. 2009) (emphasis added).

28           Second, Mr. Trump errs in suggesting that Plaintiffs have a “common law” right to have Twitter


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 1   host their content because Twitter “resembles a common carrier.” Resp. 1, 2. To be a common carrier,

 2   an entity must “serve the public indiscriminately and not ‘make individualized decisions, in particular cases,

 3   whether and on what terms to deal.” Am. Orient Express Ry. Co. v. STB, 484 F.3d 554, 557 (D.C. Cir.

 4   2007). Plaintiffs’ own allegations demonstrate that Twitter does not “merely carr[y]” speech that the

 5   “general public posts” without “engag[ing] in individualized decisions whether and on what terms to

 6   deal.” Resp. 2. Rather, as the Complaint alleges, Twitter has adopted public rules and policies that govern

 7   how it moderates content on its platform and it enforces those rules and policies through individualized

 8   decisions about what content to host or remove. See Am. Compl. ¶¶ 37-40, 113-167. In its Terms, Twitter

 9   also reserves the right to take enforcement action against individual accounts or content for any reason or

10   no reason at all. See Sprankling Decl. Ex. F. This practice of “mak[ing] individualized decisions, in

11   particular cases, whether and on what terms to deal” is the opposite of a common carrier’s indiscriminate

12   service to all comers. California v. FCC, 905 F.2d 1217, 1240 n.32 (9th Cir. 1990).

13           Third, contrary to Mr. Trump’s argument (Resp. 3-4), Section 230 also applies to “political

14   speech.” As another judge in this District put it, “[i]mmunity under the Section 230 does not contain a

15   political speech exception.” Fed. Agency of News LLC v. Facebook, Inc., 432 F. Supp. 3d 1107, 1120 (N.D.

16   Cal. 2020). The statute provides that no “provider or user of an interactive computer service shall be

17   treated as the publisher or speaker of any information provided by another information content provider.

18   47 U.S.C. § 230(c)(1) (emphasis added). It does not distinguish between political speech and non-political

19   speech. The statement of findings at the beginning of Section 230 on which Mr. Trump relies (Resp. 4)

20   does not support his contrary interpretation. According to Mr. Trump, Congress’s conclusion that “[t]he

21   Internet and other interactive computer services offer a forum for a true diversity of political discourse,”

22   47 U.S.C. § 230(a)(3), demonstrates that Section 230 was “expressly designed to encourage more, not less,

23   political speech.” Resp. 4. But, as discussed above, Congress chose to protect the Internet as a “forum

24   for a true diversity of political discourse” by allowing platforms to choose what speech to host, not by

25   forcing every platform to host whatever content any member of the public would like to post.

26                                                CONCLUSION

27           For the reasons provided herein and in Defendants’ prior briefing, Plaintiffs’ claim seeking a

28   declaration that Section 230 is unconstitutional should be dismissed with prejudice.


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 1                                        CERTIFICATE OF SERVICE

 2            I hereby certify that on February 21, 2022, I electronically filed the above document with the Clerk

 3   of the Court using CM/ECF which will send electronic notification of these filings to all registered

 4   counsel.

 5

 6

 7   Dated:     February 21, 2022                     By:    /s/ Patrick J. Carome
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      DEFENDANTS’ REPLY TO PLAINTIFF                                                      Case No. 21-cv-08378-JD
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